
PER CURIAM.
This case was jointly tried with the companion cases of Anderson v. State Road Department, 204 So.2d 899, cases numbered H-461 and H^462 in the records of this court, opinion filed simultaneously with this opinion. The basic issue raised in the appeal of the latter case is substantially the same as that raised in the present appeal, and the principles recognized and applied in the Anderson cases are controlling in the instant appeal. Accordingly, on the authority of our said Anderson decision, the final *902judgment appealed from herein should be, and it is, reversed and the cause is remanded with instructions for a new trial.
CARROLL, CHARLES, Acting C. J., RAWLS and JOHNSON, JJ., concur.
